                              Case 23-11306-JKS                         Doc 1        Filed 08/28/23            Page 1 of 15

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                      # Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               4th Source Mexico, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                                  N/A
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   8    0       0   9   6    7    5
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                     5 2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business

                                                  222          W. Las Colinas Boulevard
                                              ______________________________________________                 _______________________________________________
                                              Number     Street                                              Number     Street

                                                  Suite 1650E
                                              ______________________________________________                 _______________________________________________
                                                                                                             P.O. Box

                                                  Irving                         TX
                                              ______________________________________________
                                                                                            75039
                                                                                                             _______________________________________________
                                              City                        State    ZIP Code                  City                      State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                                  Dallas
                                              ______________________________________________
                                              County                                                         _______________________________________________
                                                                                                             Number     Street

                                                                                                             _______________________________________________

                                                                                                             _______________________________________________
                                                                                                             City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.agilethought.com
                                              ____________________________________________________________________________________________________




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        _______________________________________________________
               4th Source Mexico, LLC                                                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          # Partnership (excluding LLP)
                                          # Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          # Railroad (as defined in 11 U.S.C. § 101(44))
                                          # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          # None of the above

                                          B. Check all that apply:

                                          # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 4 ___
                                                    1 ___
                                                       5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      # Chapter 7
                                          # Chapter 9
                                          # Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          # A plan is being filed with this petition.
                                                          # Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          # Chapter 12




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Debtor          4th Source Mexico, LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        # No
      filed by or against the debtor
      within the last 8 years?           # Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            # No
      pending or being filed by a
                                                        See attached schedule
                                         # Yes. Debtor _____________________________________________               Affiliates
                                                                                                     Relationship _________________________
      business partner or an
      affiliate of the debtor?                               Delaware
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         # No
      possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  # It needs to be physically secured or protected from the weather.
                                                  # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  # Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  # No
                                                  # Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
             4th Source Mexico, LLC
            _______________________________________________________                          Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     # Funds will be available for distribution to unsecured creditors.
                                         # After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         # 1-49                           # 1,000-5,000                               # 25,001-50,000
 14. Estimated number of
                                         # 50-99                          # 5,001-10,000                              # 50,001-100,000
     creditors
                                         # 100-199                        # 10,001-25,000                             # More than 100,000
                                         # 200-999

                                         # $0-$50,000                     # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets
                                         # $50,001-$100,000               # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000              # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million            # $100,000,001-$500 million                 # More than $50 billion

                                         # $0-$50,000                     # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities
                                         # $50,001-$100,000               # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000              # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million            # $100,000,001-$500 million                 # More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on   08/28/2023
                                                          MM / DD / YYYY


                                         " /s/ James S. Feltman
                                            _____________________________________________
                                            Signature of authorized representative of debtor
                                                                                                        James S. Feltman
                                                                                                       _______________________________________________
                                                                                                       Printed name

                                                  Chief Restructuring Officer
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 4
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Debtor       4th Source Mexico LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      " /s/ Jeremy W. Ryan
                                          _____________________________________________            Date        08/28/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Jeremy W. Ryan
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Potter Anderson & Corroon LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1313        North Market Street, Sixth Floor
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 984-6000
                                         ____________________________________                             jryan@potteranderson.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4057
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                            Schedule 1

PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY THE DEBTOR AND
                        ITS AFFILIATES

    On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion is being filed with the
Court requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

        AgileThought, Inc.
        AN Global LLC
        4th Source Holding Corp
        4th Source Mexico, LLC
        4th Source, LLC
        AgileThought Argentina, S.A.
        AgileThought Brasil-Consultoria Em Tecnologia LTDA
        AgileThought Brasil Servicos de Consultoria Em Software
        AgileThought Costa Rica, S.A.
        AgileThought Digital Solutions, S.A.P.I. de C.V.
        AgileThought México, S.A. de C.V.
        AgileThought, LLC
        AgileThought Servicios Administrativos, S.A. de C.V.
        AgileThought Servicios Mexico, S.A. de C.V.
        AGS Alpama Global Services México, S.A. de C.V.
        AGS Alpama Global Services USA, LLC
        AN Data Intelligence SA de CV
        AN Extend, S.A. de C.V.
        AN Evolution S. de R.L. de C.V.
        AN USA
        AN UX, S.A. de C.V.
        Anzen Soluciones, S.A. de C.V.
        Cuarto Origen, S. de R.L. de C.V.
        Entrepids México, S.A. de C.V.
        Entrepids Technology Inc.
        Facultas Analytics, S.A.P.I. de C.V.
        Faktos Inc, S.A.P.I. de C.V.
        IT Global Holding LLC
        QMX Investment Holdings USA, Inc.
        Tarnow Investment, S.L.
        AgileThought, S.A.P.I. de C.V.




10971802v.2
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


  In re                                                      Chapter 11

  4TH SOURCE MEXICO, LLC,                                    Case No. 23-_______ (___)

                 Debtor.                                     (Joint Administration Requested)



                            LIST OF EQUITY SECURITY HOLDERS

                 Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 1007(a)(3), the
following persons and entities are equity security holders for 4th Source Mexico, LLC, the Debtor in
this case, as of the date hereof:

                                                                     Percentage of Equity
                 Member                      Address
                                                                            Held
                                   222 West Las Colinas
          4th Source, LLC          Boulevard, Suite 1650E,                   100%
                                   Irving, TX 75039




10971850v.2
                   Case 23-11306-JKS      Doc 1   Filed 08/28/23   Page 8 of 15




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


  In re                                                       Chapter 11

  4TH SOURCE MEXICO, LLC,                                     Case No. 23-_______ (___)

                    Debtor.                                   (Joint Administration Requested)



                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

        Pursuant to Federal Rules of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.
______________________________________________________________________________

☐ None [check if applicable]


 Name:              4th Source, LLC
 Address:           222 West Las Colinas
                    Boulevard, Suite 1650E,
                    Irving, TX 75039




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Fill in this information to identify the case:
Debtor name: AN Global LLC, et al.
United States Bankruptcy Court for the District of Delaware
                                                                                                                                                                                              Check if this is an
Case number (If known):                                                                                                                                                                       amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                                             12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of
the 20 largest unsecured claims.

Name of creditor and complete                             Name, telephone number, and                       Nature of the claim    Indicate if      Amount of unsecured claim
mailing address, including zip code                       email address of creditor                         (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                                          contact                                           debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                                            professional          unliquidated,    total claim amount and deduction for value of
                                                                                                            services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                                            government
                                                                                                            contracts)
                                                                                                                                                   Total claim, if        Deduction for        Unsecured
                                                                                                                                                   partially             value of             claim
                                                                                                                                                   secured               collateral or
                                                                                                                                                                         setoff


1    TAX ADMINISTRATION SERVICE (MEXICO)                                                                           TAX             CONTINGENT,                                                $     203,333,138.00
     AV. HIDALGO 77                                       PHONE: (52)-55 627 22 728                                               UNLIQUIDATED,
     COL. GUERRERO                                                                                                                  DISPUTED
     CIUDAD DE MEXICO, 06300
     MEXICO

2    MONROE CAPITAL LLC                                   JEFF CUPPLES                                             FEE                              UNDETERMINED                              $        3,451,615.00
     JEFF CUPPLES                                         PHONE: 312-523-2385
     311 SOUTH WACKER DRIVE SUITE 6400                    FAX: 312-258-8350
     CHICAGO, IL 60606                                    EMAIL: JCUPPLES@MONROECAP.COM

3    MICROSOFT CORPORATION                                EDGAR I. BLANCO                                         TRADE                                                                       $        1,808,548.96
     EDGAR I. BLANCO                                      PHONE: 469-775-0391
     PO BOX 842103                                        EMAIL: EDGARBLANCO@MICROSOFT.COM
     DALLAS, TX 75284

4    EXITUS CAPITAL SAPI DE CV SOFOM ENR                  JACOBO MONTOYA                                           DEBT                             UNDETERMINED                              $        1,580,000.00
     JACOBO MONTOYA                                       PHONE: 55-41709910
     CARRETERA MEXICO-TOLUCA NUMERO 5420,                 FAX: 55-36490804
     PISO 8                                               EMAIL: JMONTOYA@EXITUS.COM
     COLONIA EL YAQUI
     CUAJIMALPA DE MORELOS, CDMX 05320
     MEXICO

5    MAYER BROWN LLP                                      LUCAS GIARDELLI                                    PROFESSIONAL                                                                     $        1,524,203.15
     LUCAS GIARDELLI                                      PHONE: 646-469-4914                                  SERVICES
     230 SOUTH LASALLE ST                                 EMAIL: LGIARDELLI@MAYERBROWN.COM;
     CHICAGO, IL 60604                                    MGOMEZ2@MAYERBROWN.COM

6    COUSINS FUND II TAMPA III, LLC                       JILLIAN TAHAN                                           LEASE                                                                       $        1,130,032.96
     JILLIAN TAHAN                                        PHONE: 813 289 2600
     3344 PEACHTREE RD NE                                 EMAIL: MDESSLER@COUSINS.COM;
     SUITE 1800                                           JTAHAN@COUSINS.COM
     ATLANTA, GA 30326


7    SAP MEXICO SA DE CV                                  OMAR TORRES                                             TRADE                                                                       $        1,106,302.49
     OMAR TORRES                                          PHONE: 52 55 4588 2887
     AV. PASEO DE LA REFORMA 509, PISO 20                 FAX: 52 (81) 8152 1701
     CDMX, 06500                                          EMAIL: OMAR.TORRES01@SAP.COM;
     MEXICO                                               VANESSA.DALMAS@SAP.COM;
                                                          EDUARDA.FORESTA@SAP.COM

8    KORN FERRY                                           MAX KERSHNER, BARBARA JORDAN                       PROFESSIONAL                                                                     $          949,447.96
     MAX KERSHNER, BARBARA JORDAN                         PHONE: 404 577 7542                                  SERVICES
     N50 SUITE 25000 1201 WEST PEACHTREE                  EMAIL: MAX.KERSHNER@KORNFERRY.COM;
     ATLANTA, GA 55402                                    BARBARA.JORDAN@KORNFERRY.COM

9    FACTORING CORPORATIVO SA DE CV SOFO                  L RODRIGUEZ                                          FACTORING                                                                      $          917,592.04
     L RODRIGUEZ                                          PHONE: 55 50810990 EXT 124                           AGREEMENT
     REFORMA NO. 2654 INTERIOR 1003                       EMAIL: LRODRIGUEZ@FACCORP.NET
     REFORMA NO. 2654 INTERIOR 1003
     MEXICO CITY, 11950
     MEXICO

10   KC RENTAS S.A DE C.V                                 RICARDO MENDIETA, ROSALBA CESAREO                       LEASE                                                                       $          828,531.38
     RICARDO MENDIETA, ROSALBA CESAREO                    PHONE: 52 55 5365 5050 EXT 421; 52 55 1525 8836
     10 DE MAYO # 47-A                                    EMAIL: RMENDIETA@KAPALI.COM.MX;
     TLALNEPANTLA DE BAZ, 54080                           RCESAREO@KAPALI.COM.MX
     MEXICO

11   AGS GROUP                                            MAURICIO RIOSECO                                         DEBT                             UNDETERMINED                              $          775,931.61
     MAURICIO RIOSECO                                     EMAIL: MAURICIO.RIOSECO@RW.COM.MX
     907 RANCH ROAD 620 SOUTH, SUITE 302
     LAKEWAY, TX 78734

12   TENNESSEE DEPARTMENT OF REVENUE                      COLLECTION SERVICES DIVISION                             TAX               DISPUTED                                                 $          684,561.00
     COLLECTION SERVICES DIVISION                         PHONE: 844-729-8689
     500 DEADERICK ST                                     EMAIL: REVENUE.COLLECTION@TN.GOV;
     NASHVILLE, TN 37242                                  TDOR.BANKRUPTCY@TN.GOV




Official Form 204                                             Chapter 11 Case: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                      Page 1
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Name of creditor and complete               Name, telephone number, and                Nature of the claim    Indicate if     Amount of unsecured claim
mailing address, including zip code         email address of creditor                  (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                                    debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                       professional          unliquidated,   total claim amount and deduction for value of
                                                                                       services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                       government
                                                                                       contracts)
                                                                                                                             Total claim, if        Deduction for        Unsecured
                                                                                                                             partially             value of             claim
                                                                                                                             secured               collateral or
                                                                                                                                                   setoff


13   LINK X S. A. DE C. V.                  BLANCA GOMEZ, JOSÉ LUIS CHACÓN                   TRADE                                                                      $          680,137.59
     BLANCA GOMEZ, JOSÉ LUIS CHACÓN         PHONE: 52 55 7858 0472; 52 55 8868 8713
     JOSE PAGES YERGO                       EMAIL: BIGOMEZ@LINKX.MX;
     LA MAGDALENA 104                       CASEGURA@LINKX.MX; JLCHACON@LINKX.MX
     TOLUCA, 50010
     MEXICO

14   KPMG LLP                               SPENCER FELD                                PROFESSIONAL                                                                    $          566,571.81
     SPENCER FELD                           PHONE: 402-650-3441                           SERVICES
     2323 ROSS AVENUE SUITE 1400            FAX: 214-840-2297
     DALLAS, TX 75201                       EMAIL: SFELD@KPMG.COM;
                                            LACOSTA@KPMG.COM
15   BDO USA, LLP                           TJ NUNEZ                                    PROFESSIONAL                                                                    $          490,070.00
     TJ NUNEZ                               PHONE: 813-302-6622                           SERVICES
     770 KENMOOR SE SUITE 300               EMAIL: CLEWIS@BDO.COM; TNUNEZ@BDO.COM
     GRAND RAPIDS, MI 49546

16   PRICEWATERHOUSECOOPERS                 IVANNA NAZAR                                PROFESSIONAL                                                                    $          462,368.00
     IVANNA NAZAR                           PHONE: 31 06 41587682                         SERVICES
     2121 N. PEARL STREET SUITE 2000        EMAIL: IVANNA.NAZAR@PWC.COM
     DALLAS, TX 75201

17   MICROSTRATEGY MEXICO S DE RL DE CV     LETICIA PEREZ                                    TRADE                                                                      $          434,004.72
     LETICIA PEREZ                          PHONE: 52 55 6827 8367
     JUAN SALVADOR AGRAZ 50 602             FAX: 52-55-4140-6112
     SANTA FE                               EMAIL: LPEREZ@MICROSTRATEGY.COM
     CUAJIMALPA, 05348
     MEXICO

18   ANOVORX                                KYLE P. TRUITT                                 LITIGATION                                                                   $          395,000.00
     KYLE P. TRUITT                         PHONE: 901-359-8896
     1710 N SHELBY OAKS DR SUITE 3          FAX: 901-201-5470
     MEMPHIS, TN 38134                      EMAIL: KYLE.TRUITT@ANOVORX.COM

19   DATAVISION DIGITAL                     NORMA DIAZ                                       TRADE                                                                      $          383,641.94
     NORMA DIAZ                             PHONE: 52 (55) 5273 2903
     AVENIDA PATRIOTISMO 48                 EMAIL: NORMA.DIAZ@DATAVISION.COM.MX
     MIGUEL HIDALGO, 11800
     MEXICO

20   BANCO VE POR MAS, S.A.                 JAVIER GARCIA, SION CHEREM                       TRADE                                                                      $          349,750.17
     JAVIER GARCIA, SION CHEREM             PHONE: 52 55 7919 3828
     PASEO DE LA REFORMA 243 PISO 21        EMAIL: JAVIER.GARCIA@SIMETRICGI.MX;
     CUAUHTEMOC                             SION.CHEREM@SIMETRICGI.COM
     CDMX, 06500
     MEXICO




Official Form 204                             Chapter 11 Case: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                Page 2
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 Fill in this information to identify the case and this filing:


              4th Source Mexico, LLC
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         # Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         # Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         # Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         # Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         # Schedule H: Codebtors (Official Form 206H)
         # Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         # Amended Schedule ____

         # Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement, List of Equity Holders
         # Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on        08/28/2023
                           MM / DD / YYYY
                                                           " /s/ James S. Feltman
                                                               _________________________________________________________________________
                                                                Signature of individual signing on behalf of debtor



                                                                 James S. Feltman
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             UNANIMOUS WRITTEN CONSENT
                                IN LIEU OF MEETING OF
                                     THE MEMBERS
                                          OF
                               4TH SOURCE MEXICO, LLC

                                          August 27, 2023

               The undersigned, the sole member (the “Member”) of 4th Source Mexico, LLC, a
Delaware company (the “Company”), do hereby waive all notice requirements and approve and
adopt the following resolutions as of the date first written above by unanimous written consent in
lieu of a meeting.

                WHEREAS, the Member has reviewed and analyzed materials and advice
presented by the management and the outside financial and legal advisors of the Company
regarding the financial condition, capital structure, liquidity position, business model and
projections, short term and long term prospects of the Company and the restructuring and other
strategic alternatives available to it, and the impact of the foregoing on the business of the
Company; and

                WHEREAS, the Member has determined that it is desirable and in the best
interests of the Company and its creditors, employees and other parties in interest, that the
Company file or cause to be filed a voluntary petition (the “Chapter 11 Case”) seeking relief
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

                NOW THEREFORE BE IT RESOLVED, that filing of the Chapter 11 Case by the
Company, and the seeking of relief by the Company under chapter 11 of the Bankruptcy Code in
the Bankruptcy Court be, and each hereby is, authorized and approved for all purposes and in all
respects; and it is further

                RESOLVED, that James S. Feltman is hereby appointed as Chief Restructuring
Officer of the Company (the “CRO”); and it is further

                RESOLVED, that the CRO and any other person designated and so authorized to
act by the aforementioned officer (each such officer or designee being an “Authorized Person”),
be, and each hereby is, authorized and empowered to execute and verify petitions and
amendments thereto under chapter 11 of the Bankruptcy Code in the name and on behalf of the
Company, in such forms as the Authorized Person executing the same shall approve, his, her or
their execution to be conclusive evidence of the approval thereof by such Authorized Person and
the Member, and to file or cause the same to be filed in the Bankruptcy Court at such time as
such Authorized Person executing the same shall determine; and it is further

               RESOLVED, that any Authorized Person be, and each hereby is, authorized and
empowered to execute, verify and file or cause to be filed on behalf of and in the name of the
Company, including in the Company's capacity as shareholder, manager, or member of its
subsidiaries, any and all petitions, resolutions, schedules, motions, lists, applications, pleadings
and other papers, in such forms as the Authorized Person executing the same shall approve, his,
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her or their execution to be conclusive evidence of the approval thereof by such Authorized
Person and the Member, and to take all such other actions deemed by such Authorized Person to
be necessary, appropriate or desirable in connection with the Chapter 11 Case, with a view to the
successful prosecution of the Chapter 11 Case; and it is further

               RESOLVED, that any Authorized Person be, and each hereby is, authorized and
empowered on behalf of the Company, to retain (i) Hughes Hubbard & Reed LLP as co-general
bankruptcy counsel; (ii) Potter Anderson & Corroon, LLP as co-general bankruptcy counsel; (iii)
Garrigues México, S.C. as general Mexican restructuring counsel; (iv) Teneo Capital LLC to
provide financial advisory services; (v) Guggenheim Securities, LLC, as investment banker; (vi)
Kurtzman Carson Consultants LLC as claims, noticing and balloting agent and to provide
administrative advisory services; and (vii) such other professionals as the Authorized Persons
deem necessary, appropriate or desirable in connection with the Chapter 11 Case, in each case on
such terms as the Authorized Persons shall deem necessary, appropriate or desirable and subject
to any required approvals of the Bankruptcy Court; and it is further

                RESOLVED, that in connection with the Chapter 11 Case, any Authorized Person
be, and each hereby is, authorized and empowered on behalf and in the name of the Company, to
negotiate, execute, deliver, and perform or cause the performance of (i) that certain Senior
Secured, Super-Priority Debtor-in-Possession Financing Agreement, by and among the
Company, as Borrower, each subsidiary of the Company listed as a “Guarantor” on the signature
pages thereto, BlueTorch Finance LLC as collateral agent and administrative agent (the “DIP
Agent”), and each lender from time to time party thereto, as Lenders (as amended, modified,
supplemented, or restated, the “DIP Credit Agreement”), on substantially the terms and subject to
the conditions described to the Member and as set forth in the DIP Credit Agreement or as may
hereafter be authorized by the Member or each of the Authorized Persons; (ii) any and all
transactions contemplated by the DIP Credit Agreement, including, without limitation, the
payment of any fees and expenses payable under the DIP Financing Documents (defined therein)
and the grant of security interests in and liens upon (including priming liens) some, any or all of
the Company's assets, as any such Authorized Person executing the same may consider
necessary, proper or desirable, such determination to be evidenced by such execution; (iii) the
“Loan Documents” as that term is defined in the DIP Credit Agreement (collectively, the “DIP
Loan Documents”) to which the Company is a party and any and all agreements or instruments
on behalf of the Company (including, without limitation, in connection therewith, such notes,
security agreements, pledge agreements, mortgages, guarantees, fee letters, bailee letters,
collateral access agreements, deposit account control agreements, securities account control
agreements, and other agreements or instruments on behalf of the Company (such other
agreements and instruments, together with the DIP Credit Agreement and the DIP Loan
Documents, collectively, the “DIP Financing Documents”) necessary or advisable in order to
consummate the transactions contemplated under the DIP Financing Documents, the
performance of the Company's obligations and grant of security interest contemplated thereby
and the guaranty of the obligations thereunder, with such changes to the DIP Financing
Documents or additions thereto as the Authorized Person executing the same shall approve as
being necessary or desirable, such approval to be evidenced by such execution; and (iv) any and
all amendments, supplements and changes to the DIP Financing Documents, as any such
Authorized Person executing the same may consider necessary, proper or desirable, such
determination to be evidenced by such execution; and it is further


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                RESOLVED, that the form, terms and provisions of the DIP Credit Agreement
and each of the other DIP Loan Documents to which the Company is a party be, and the same
hereby are, in all respects approved, and that any Authorized Person is hereby authorized and
empowered, in the name of and on behalf of the Company, to execute and deliver the DIP Credit
Agreement and each of the DIP Loan Documents to which the Company is a party, each in the
form or substantially in the form thereof submitted to the Member, with such changes, additions
and modifications thereto as any such Authorized Person executing the same may consider
necessary, proper or desirable, such determination to be evidenced by such execution; and it is
further

                RESOLVED, that any Authorized Person be, and each hereby is, authorized and
empowered to take any and all actions necessary or appropriate for the Company to negotiate a
refinancing, recapitalization, restructuring or other reorganization of the Company, including
under one or more plans of reorganization, and, subject to further approval of the Member, to
enter into such plan of reorganization and all other documents, agreements or instruments to
effectuate the foregoing; and it is further

                RESOLVED, that any Authorized Person be, and each hereby is, authorized and
empowered on behalf of the Company, to negotiate, execute, deliver and/or file or cause to be
filed any and all agreements, amendments, instruments, consents, certificates, letters, documents
or other writings, and to take all such other actions (including the payment of expense) deemed
by such Authorized Person to be necessary, appropriate or desirable to carry out the purposes and
intents of each and all of the foregoing resolutions; and it is further

                RESOLVED, that all authority conferred by these resolutions shall be deemed
retroactive and any and all acts authorized under these resolutions performed prior to the
adoption of this resolution are hereby ratified, affirmed and approved; and that, without
limitation of the foregoing, all actions heretofore taken for or on behalf of the Company by any
Authorized Person in connection with the transactions contemplated by the preceding resolutions
be, and hereby are, ratified, adopted and confirmed in all respects.

                This document may be executed in counterparts, each of which shall be deemed
an original, but all of which taken together shall constitute one and the same instrument. The
resolutions herein shall have the same force and effect as if they were adopted at a meeting at
which the undersigned personally was present.

                                    [Signature page follows]




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                IN WITNESS WHEREOF, the undersigned have signed this unanimous written
consent as of the date first written above.




                                               MEMBER


                                                           , , CRO

                                               By: 4th Source, LLC
                                               By: James S. Feltman
                                               Title: Chief Restructuring Officer




         [SIGNATURE PAGE TO UNANIMOUS WRITTEN CONSENT OF 4TH SOURCE MEXICO, LLC]
